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 1
 2   A PROFESSIONAL CORPORATION
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 7   Attorneys for Defendants
     COUNTY OF BUTTE AND BUTTE COUNTY SHERIFF KORY HONEA
 8
 9                                    UNITED STATES DISTRICT COURT
                             IN AND FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11
12
     MICHAEL ERNEST MITCHUM JR.,                             Case No.: 2:22-cv-02313-DAD-CKD
13
                        Plaintiff,                           DECLARATION OF MATTHEW W. GROSS IN
14                                                           SUPPORT OF EX PARTE APPLICATION FOR
     vs.                                                     EXTENSION OF TIME FOR DEFENDANTS
15                                                           COUNTY OF BUTTE AND SHERIFF KORY
     BUTTE COUNTY SHERIFF KORY HONEA;                        HONEA TO FILE RESPONSIVE PLEADING TO
16   COUNTY OF BUTTE,                                        PLAINTIFF’S COMPLAINT

17                      Defendants,

18                                                           Compl. Filed: 12/29/2022
                                                         /
19
20
              I, Matthew W. Gross, declare:
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              1.        I make this Declaration on my own personal knowledge, except to the facts stated on
22
     information and belief. As to such facts, I believe them to be true. If called upon to do so, I could and
23
     would competently testify about the matters asserted herein.
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              2.        I am an attorney duly licensed to practice before all courts of the State of California, and
25
     am an associate attorney with the law firm of PORTER SCOTT, attorneys of record for Defendants,
26
27
28    {02058549.DOCX}

                                                1
     DECLARATION OF MATTHEW W. GROSS IN SUPPORT OF EX PARTE APPLICATION FOR EXTENSION OF TIME
      FOR DEFENDANTS COUNTY OF BUTTE AND SHERIFF KORY HONEA TO FILE RESPONSIVE PLEADING TO
                                     PLAINTIFF’S COMPLAINT
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 1   COUNTY OF BUTTE, and SHERIFF KORY HONEA (hereinafter, “Defendants”), in the above-entitled
 2   matter.
 3             3.       I submit this affidavit in support of Defendants’ ex parte application for an extension of
 4   time to file a responsive pleading in this matter, pursuant to Local Rule 144(c).
 5             4.       My office was recently retained to represent Defendants in this case. Defendants’ current
 6   deadline to file a responsive pleading in this matter is November 1, 2023. According to my review of the
 7   Court docket for this matter, the County was served with a copy of the operative complaint on October
 8   11, 2023. (ECF 31). My office was retained officially obtained to represent the Defendants on or about
 9   October 27, 2023. I am requesting a 28 day extension to respond to the operative complaint so that I may
10   have a chance to review the pleadings filed in this case and properly determine the viability of the
11   allegations set forth in the Complaint. There are currently 31 filings on the Courts docket, including the
12   Complaint and counsel for Defendants needs time to investigate these claims. Defendants continue to
13   research and investigate this matter, and as such, respectfully request from this Court the extension in
14   order to provide a meaningful opportunity to complete its review of this matter.
15             5. I have received the Court’s docket and understand Plaintiff Mr. Michael Mitchum is currently
16   incarcerated at the Butte County Jail. I have been unable to speak with him about seeking a stipulation
17   pursuant to Local Rule 144(a) for the Defendants to respond to the complaint. Furthermore, any attempt
18   to send a letter to Mr. Mitchum with a copy of the proposed stipulation would not be returned prior to the
19   deadline to respond to the Complaint.
20             6. There have been no prior extensions granted in this matter. This Ex Parte Application is not
21   being submitted for any improper purpose such as to cause undue delay. In addition, this Ex Parte
22   application will not cause any prejudice to the parties in this ligation.
23             7. Defendants respectfully submit for their Ex Parte Application requesting an extension of time
24   for Defendants to submit an answer or other responsive pleading to Plaintiff’s complaint until November
25   29, 2024.
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     DECLARATION OF MATTHEW W. GROSS IN SUPPORT OF EX PARTE APPLICATION FOR EXTENSION OF TIME
      FOR DEFENDANTS COUNTY OF BUTTE AND SHERIFF KORY HONEA TO FILE RESPONSIVE PLEADING TO
                                     PLAINTIFF’S COMPLAINT
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 1           I declare under penalty of perjury under the laws of the State of California that the foregoing is
 2   true and correct, and that this Declaration was executed on November 1, 2023, at Sacramento, California.
 3
 4
 5
 6                                                        _/s/ Matthew W. Gross_______
                                                                 Matthew W. Gross
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     DECLARATION OF MATTHEW W. GROSS IN SUPPORT OF EX PARTE APPLICATION FOR EXTENSION OF TIME
      FOR DEFENDANTS COUNTY OF BUTTE AND SHERIFF KORY HONEA TO FILE RESPONSIVE PLEADING TO
                                     PLAINTIFF’S COMPLAINT
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 1
     CASE NAME: Mitchum v. Butte County, et al.
 2   CASE NO.: Eastern District of CA Case No. 2:22-cv-02313

 3
                                                PROOF OF SERVICE
 4           I am a resident of the United States and of the County, of Sacramento, California. I am over the
     age of eighteen years and not a party to the within above-entitled action. My business address is 2180
 5   Harvard Street, Suite 500, Sacramento, California.
             I am familiar with this Company's practice whereby the mail, after being placed in a designated
 6
     area, is given the appropriate postage and is deposited in a U.S. mailbox in the City of Sacramento,
 7   California, after the close of the day's business.
             That on the date below, I served the following DECLARATION OF MATTHEW W. GROSS
 8   IN SUPPORT OF EX PARTE APPLICATION FOR EXTENSION OF TIME FOR DEFENDANTS
     COUNTY OF BUTTE AND SHERIFF KORY HONEA TO FILE RESPONSIVE PLEADING TO
 9   PLAINTIFF’S COMPLAINT on all parties in the said action as addressed below by causing a true copy
     thereof to be served:
10
11       XX      BY MAIL: I placed the envelope for collection and mailing, following our ordinary business practices. I
                 am readily familiar with this business’ practice for collecting and processing correspondence for mailing.
12               On the same day that correspondence is placed for collection and mailing, it is deposited in the ordinary
                 course of business with the United States Postal Service, in a sealed envelope with postage fully prepaid.
13               □ Certified Mail/Return Receipt Requested, Article #
                 BY OVERNIGHT DELIVERY: I enclosed the documents in an envelope or package provided by an
14               overnight delivery carrier and addressed to the person(s) listed below. I placed the envelope or package
                 for collection and overnight delivery at my office or a regularly utilized drop box of the overnight delivery
15               carrier.
                 BY ELECTRONIC SERVICE: Based on a court order or an agreement of the parties to accept service
16               by electronic transmission, I caused the documents to be sent to the persons at the electronic notification
                 address listed below.
17
18   Addressed as follows:
     Pro Per
19   Michael Mitchum #166925
20   Butte County Jail
     7 Gillick Way
21   Oroville, CA 95965
22           I declare under penalty of perjury under the laws of the State of California that the foregoing is
     true and correct. Executed at Sacramento, California on November 1, 2023.
23
                                                                    ___________________________________
24                                                                  Kristena Champlin
25
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                                                4
     DECLARATION OF MATTHEW W. GROSS IN SUPPORT OF EX PARTE APPLICATION FOR EXTENSION OF TIME
      FOR DEFENDANTS COUNTY OF BUTTE AND SHERIFF KORY HONEA TO FILE RESPONSIVE PLEADING TO
                                     PLAINTIFF’S COMPLAINT
